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                          IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLUMBIA

                                                     )
  UNITED STATES OF AMERICA,                          )
                                                     ) Criminal No. 1:22-cr-00015-APM
                         v.                          )
                                                     )
  ELMER STUART RHODES, KELLY                         )
  MEGGS, JESSICA WATKINS                             )
                                                     )
                    Defendants                       )
                                                     )



                                                    ORDER
        Based upon the motion by the government, ECF 252, the Motion in Limine that seeks to bar the

defendants from introducing any expert testimony at trial, the Defendants, Elmer Stuart Rhodes, Kelly

Meggs, Jessica Watkins, Opposition thereto, any reply in support of the motion, oral argument, and the

entire record before this court, is at this time, premature, and prejudicial.

        It is therefore, hereby Ordered that, the motion in limine is therefore Denied.



                                        ________________________________
                                        The Hon. District Judge Amit P. Mehta
                                        United States District Court Judge


Copies to all Counsel via ECF
